                            UNITED STATES DISTRICT COURT
                                      FOR THE
                            WESTERN DISTRICT OF MISSOURI


LOCAL UNION NO. 124 I.B.E.W. PENSION                  )
TRUST FUND, a Trust Fund, et al.,                     )
                                                      )
                                Plaintiffs,           )
                                                      )
vs.                                                   ) Civil Action No.: 4:18-CV00759-GAF
                                                      )
LYNCH ELECTRICAL, INC.,                               )
                                                      )
                                Defendant.            )

                DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT

       COME NOW Defendant, Lynch Electrical, Inc. (hereinafter “Lynch”), by and through

its attorney, John L. Williams, and does hereby answer Plaintiffs’ Complaint filed herein as

follows:

                                              COUNT I

       1.       Defendant admits the allegations contained in paragraphs 1, 2, 3, 4, 6, 7, 8, 9, 10,

       11, 13 and 14 of Count I of Plaintiffs’ complaint.

       2.       Defendant denies the allegations contained in paragraphs 12 and 15 of Count I of

       Plaintiffs’ complaint.

       3.       Defendant is without sufficient information or knowledge with which to form a

       belief as to the veracity of the allegations contained in paragraphs 5 of Count I of

       Plaintiffs’ complaint and, therefore, denies same.

       4.       In response to the allegations contained in paragraph 16 of Count I of Plaintiffs’

       complaint Defendant admits Defendant is required by Section 515 of ERISA, 29 U.S.C.

       §1145, to make fringe benefit contributions to Plaintiffs pursuant to and in accordance



                                                 1

            Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 1 of 14
with the terms and conditions of the aforesaid collective bargaining agreements and Trust

Agreement, as amended, however, Defendant is without sufficient information or

knowledge with which to form a belief as to the veracity of the remaining allegations

contained in paragraph 16 of Count I of Plaintiffs’ complaint and, therefore, denies same.

5.        In response to the allegations contained in paragraph 17 of Count I of Plaintiffs’

complaint Defendant admits that pursuant to Section 502(g)(2) of ERISA, 29 U.S.C.

§1132(g)(2), Plaintiffs are generally entitled to a mandatory award of unpaid fringe

benefit contributions; interest on said unpaid fringe benefit contributions as provided by

for in the aforesaid Trust Agreement, as amended; liquidated damages as provided for in

the aforesaid Trust Agreement, as amended; reasonable attorneys’ fees; and their cost of

their action in the event a defendant fails to pay same, however, Defendant states said

section does not apply in the instant case in that Defendant has paid all fringe benefits

calculated by Plaintiff to be paid by Defendant.

6.        Plaintiffs’ complaint fails to state a cause of action for which relief may be

granted against Defendant, specifically, as said Defendant has paid into the Pension Trust

Fund the amount Plaintiff notified Defendant it was obligated to pay and, therefore,

should be dismissed.

7.        Defendant denies any allegation of Count I of Plaintiffs’ complaint not admitted

herein.

8.        Further answering, and by way of an affirmative defense, Defendant states

Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

City Chapter National Electrical Contractors Association and International Brotherhood

of Electrical Workers Local Union No. 124, AFL-CIO.



                                           2

     Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 2 of 14
       WHEREFORE, having fully answered Count I of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                               COUNT II

       9.        Defendant hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I as if fully set forth herein.

       10.       Defendant admits the allegations contained in paragraphs 1 and 2 of Count II of

       Plaintiffs’ complaint.

       11.       Defendant denies the allegations contained in paragraph 3 of Count II of Plaintiffs

       complaint.

       12.       Defendant admits Plaintiff incorporates and adopts paragraphs 1, 4, 5, 6, 7, 8, 9,

       10, 11, 13, 14, 15, 16 and 17 of Count I of Plaintiffs’ complaint and in response thereto

       Defendant incorporates and adopts its answers to said paragraphs as set forth in Count I

       of Plaintiffs’ complaint as if fully set forth herein.

       13.       Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as it relates to Defendant, as said Defendant has

       paid into the Benefit Fund the amount Plaintiff notified Defendant it was obligated to pay

       and, therefore, should be dismissed.

       14.       Defendant denies any allegation of Count II of Plaintiffs’ complaint not admitted

       herein.

       15.       Further answering, and by way of an affirmative defense, Defendant states

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.



                                                  3

            Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 3 of 14
       WHEREFORE, having fully answered Count II of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                            COUNT III

       16.       Defendant hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I and 1-4 of Count II as if fully set forth herein.

       17.       Defendant admits the allegations contained in paragraphs 1 and 2 of Count III of

       Plaintiffs’ complaint.

       18.       Defendant denies the allegations contained in paragraph 3 of Count III of

       Plaintiffs’ complaint.

       19.       Defendant admits Plaintiff incorporates and adopts paragraphs 1, 4, 5, 6, 7, 8, 9,

       10, 11, 13, 14, 15, 16 and 17 of Count I of Plaintiffs’ complaint and in response thereto

       Defendant incorporates and adopts its answers to said paragraph set forth in Count I of

       Plaintiffs’ complaint as if fully set forth herein.

       20.       Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as said Defendant has paid into the

       NECA Annuity and 401 (k) Trust Fund the amount Plaintiff notified Defendant it was

       obligated to pay and, therefore, should be dismissed.

       21.       Defendant denies any allegation of Count IV of Plaintiffs’ complaint not admitted

       herein.

       22.       Further answering, and by way of an affirmative defense, Defendants state

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.



                                                  4

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 4 of 14
       WHEREFORE, having fully answered Count III of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                            COUNT IV

       23.       Defendants hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I, 1-4 of Count II and 1-4 of Count III as if fully set forth herein.

       24.       Defendant admits the allegations contained in paragraphs 1 and 2 of Count IV of

       Plaintiffs’ complaint.

       25.       Defendant denies the allegations contained in paragraph 3 of Count IV of

       Plaintiffs’ complaint.

       26.       Defendant admits Plaintiff incorporates and adopts paragraphs 1, 4, 5, 6, 7, 8, 9,

       10, 11, 13, 14, 15, 16 and 17 of Count I of Plaintiffs’ complaint and in response thereto

       Defendant incorporates and adopts its answers to said paragraphs set forth in Count I of

       Plaintiffs’ complaint as if fully set forth herein.

       27.       Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as said Defendant has paid into the Health and

       Welfare Fund the amount Plaintiff notified Defendant it was obligated to pay and,

       therefore, should be dismissed.

       28.       Defendant denies any allegation of Count IV of Plaintiffs’ complaint not admitted

       herein.

       29.       Further answering, and by way of an affirmative defense, Defendant states

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.



                                                  5

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 5 of 14
       WHEREFORE, having fully answered Count IV of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                             COUNT V

       30.       Defendants hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I, 1-4 of Count II, 1-4 of Count III and 1-4 of Court IV as if fully set forth herein.

       31.       Defendant admits the allegations contained in paragraphs 1 and 2 of Count V of

       Plaintiffs’ complaint.

       32.       Defendant denies the allegations contained in paragraph 3 of Count V of

       Plaintiffs’ complaint.

       33.       Defendant admits Plaintiff incorporates and adopts paragraphs 1, 4, 5, 6, 7, 8, 9,

       10, 11, 13, 14, 15, 16 and 17 of Count I of Plaintiffs’ complaint and in response thereto

       Defendant incorporates and adopts its answers to said paragraphs set forth in Count I of

       Plaintiffs’ complaint as if fully set forth herein.

       34.       Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as said Defendant has paid into the

       Vacation & Holiday Trust Fund the amount Plaintiff notified Defendant it was obligated

       to pay and, therefore, should be dismissed.

       35.       Defendant denies any allegation of Count V of Plaintiffs’ complaint not admitted

       herein.

       36.       Further answering, and by way of an affirmative defense, Defendant state

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.



                                                  6

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 6 of 14
       WHEREFORE, having fully answered Count V of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                            COUNT VI

       37.       Defendant hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I, 1-4 of Count II, 1-4 of Count III, 1-4 of Count IV and 1-4 of Count V as if fully

       set forth herein.

       38.       Defendant admits the allegations contained in paragraphs 1 and 2 of Count VI of

       Plaintiffs’ complaint.

       39.       Defendant denies the allegations contained in paragraph 3 of Count VI of

       Plaintiffs’ complaint.

       40.       Defendant admits Plaintiff incorporates and adopts paragraphs 1, 4, 5, 6, 7, 8, 9,

       10, 11, 13, 14, 15, 16 and 17 of Count I of Plaintiffs’ complaint and in response thereto

       Defendant incorporates and adopts its answers to said paragraphs set forth in Count I of

       Plaintiffs’ complaint as if fully set forth herein.

       41.       Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as said Defendant has paid into the

       Electrical Joint Apprenticeship and Training Trust Fund the amount Plaintiff notified

       Defendant it was obligated to pay and, therefore, should be dismissed.

       42.       Defendant denies any allegation of Count VI of Plaintiffs’ complaint not admitted

       herein.

       43.       Further answering, and by way of an affirmative defense, Defendants state

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas




                                                  7

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 7 of 14
       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.

       WHEREFORE, having fully answered Count VI of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                            COUNT VII

       44.     Defendant hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I, 1-4 of Count II, 1-4 of Count III, 1-4 of Count IV, 1-4 of Count V and 1-4 of

       Count VI as if fully set forth herein.

       45.     Defendant admits the allegations contained in paragraphs 1, 2 and 3 of Count VII

       of Plaintiffs’ complaint.

       46.     Defendant denies the allegations contained in paragraph 4 of Count VII of

       Plaintiffs’ complaint.

       47.     Defendant admits Plaintiff incorporates and adopts paragraphs 1, 4, 5, 6, 7, 8, 9,

       10, 11, 13, 14, 15, 16 and 17 of Count I of Plaintiffs’ complaint and in response thereto

       Defendant incorporates and adopts its answers to said paragraphs set forth in Count I of

       Plaintiffs’ complaint as if fully set forth herein.

       48.     Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as said Defendant has paid into the Labor

       Management Cooperation Trust the amount Plaintiff notified Defendant it was obligated

       to pay and, therefore, should be dismissed.

       49.     Defendant denies any allegation of Count VII of Plaintiffs’ complaint not

       admitted herein.




                                                  8

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 8 of 14
       50.    Further answering, and by way of an affirmative defense, Defendants state

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.

       WHEREFORE, having fully answered Count VII of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.

                                          COUNT VIII

       51.    Defendant hereby incorporates and adopts its answers to paragraphs 1-17 of

       Count I, 1-4 of Count II, 1-4 of Count III, 1-4 of Count IV, 1-4 of Count V, 1-4 of Count

       VI, and 1-5 of Count VII as if fully set forth herein.

       52.    Defendant admits the allegations contained in paragraphs 1, 2, and 3 of Count

       VIII of Plaintiffs’ complaint.

       53.    In response to the allegations contained in paragraph 4 of Count VIII of Plaintiffs’

       complaint Defendant admits electrical worker employees of Defendant were employed

       under the terms of the collective bargaining agreement between the Defendant and the

       Union under the terms of which Defendant agreed, among other things, to deduct various

       sums per hour from the wages of each employee covered by and subject to said

       agreements from April 1, 2015, to date as and for supplemental dues and to remit same to

       Plaintiff; and during said period of time to submit written reports within ten (10) days

       after the last day of the preceding month for the hours worked during said preceding

       month; that said reports should list the names and hours worked and the amounts

       deducted and remitted for each such employee of Defendant; that said agreement of

       Defendant to deduct said amounts from wages of employees covered under the collective



                                                 9

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 9 of 14
       bargaining agreements was in accordance with and pursuant to individual and voluntary

       written authorization by said employees for the check-off of said dues, all as permitted

       and pursuant to Section 302(c) of the National Labor Relations Act; however, Defendant

       denies the other allegations contained in paragraph 4 of Count VIII of Plaintiff’s

       complaint.

       54.    In response to the allegations contained in paragraph 6 of Count VIII of Plaintiffs’

       complaint Defendant denies it has failed and refused to deduct said supplemental dues

       from the wages of employees covered by the Agreements referred to herein and has failed

       and refused to submit correct remittance reports of such dues to the Plaintiff Union from

       April 1, 2015, to date.

       55.    Plaintiffs’ complaint fails to state a cause of action for which relief may be

       granted against Defendant, specifically, as said Defendant has paid the supplemental dues

       in the amount Plaintiff notified Plaintiff it was obligated to pay and, therefore, should be

       dismissed.

       56.    Defendant denies any allegation of Count VIII of Plaintiffs’ complaint not

       admitted herein.

       58.    Further answering, and by way of an affirmative defense, Defendant states

       Plaintiffs have failed to follow the inside labor agreement by and between the Kansas

       City Chapter National Electrical Contractors Association and International Brotherhood

       of Electrical Workers Local Union No. 124, AFL-CIO.

       WHEREFORE, having fully answered Count VIII of Plaintiffs’ Complaint, Defendant

moves that Plaintiffs’ Complaint be dismissed and that it be allowed to go hence.




                                               10

        Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 10 of 14
                                       COUNTER-CLAIM

       Comes now Defendant Lynch Electrical, Inc. and for its cause of action against

Defendant International Brotherhood of Electrical Workers Local Union No. 124, AFL-CIO

(hereinafter referred to as “Union”) states:

       1.      This action arises under and jurisdiction is founded on Section 301 of the Labor

       Management Relations Act, as amended, 29 U.S.C. §185 (hereinafter referred to as

       “LMRA”).

       2.      Defendant, Lynch Electrical, Inc. is a Missouri corporation doing business in the

       State of Missouri in the Western District of Missouri; that Defendant at all times material

       herein employed electrical workers performing work covered by the collective bargaining

       agreements herein mentioned.

       3.      Plaintiff, International Brotherhood of Electrical Workers Local Union No. 124,

       AFL-CIO (hereinafter referred to as “Union”) is a labor organization representing

       employees in industry affecting commerce as defined by Sections 501(1) and (3) of the

       LMRA, 29 U.S.C. §142 (1) and (3); and within the meaning of Section 301 of the

       LMRA, 29 U.S.C. §185 and 29 U.S.C. §152(5), and is an unincorporated association.

       4.      Plaintiff Union maintains its principal offices in Kansas City, Jackson County,

       Missouri, and Plaintiff’s duly authorized officers and agents are engaged in representing

       or acting for employee members in Jackson County, Missouri, within territorial

       jurisdiction of this Court.

       5.      At all times material herein Plaintiff and Defendant signed a Letter of Assent for

       the inside Labor Agreement; Stockman Drive and/or Material Expediter Labor

       Agreement; Construction Wiremen/Construction Electrician Labor Agreement; and



                                               11

         Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 11 of 14
Voice, Data, Video/Security Labor Agreement, and agreed to be bound by the terms and

conditions of collective bargaining agreement then in effect and that would subsequently

be in effect between the Kansas City Chapter National Electrical Contractors Association

and the International Brotherhood of Electrical Workers Local Union No. 124, AFL-CIO;

that Plaintiff and Defendant are thereby bound by all collective bargaining agreements in

effect on said date up to and including the present date.

5.      Electrical worker employees of Defendant were employed under the terms of the

collective bargaining agreement between the Defendant and Plaintiff Union under the

terms of which Plaintiff and Defendant agreed, among other things, to utilize a referral of

applicants system wherein the business manager of the Plaintiff union referred applicants

to Defendant upon the request of Defendant to perform the work required by the owner

of projects, all as permitted and pursuant to Section 302(c) of the National Labor

Relations Act.

6.      Pursuant to the referral procedure of the collective bargaining agreement between

the Defendant and Plaintiff Union, the Plaintiff Union was the sole and exclusive source

of referral of applicants for employment to Defendant.

7.      Plaintiff Union refers applicants for employment utilizing a Referral Notice –

IBEW Local 124 whereby the Plaintiff Union indicates the name of the applicant as well

as the classification of said applicant.

8.      Plaintiff Union referred five (5) applicants to Defendant with the classifications

contained upon said referrals.

9.      Defendant was required to pay wage and fringe benefit contributions based upon

the classifications Plaintiff Union provided to Defendant with the referrals.



                                           12

 Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 12 of 14
10.     Defendant paid the wage and fringe benefit contributions based upon the

classifications Plaintiff Union provided to Defendant with the referrals.

11.     Defendant subsequently learned the classifications Plaintiff Union provided to

Defendant with the referrals were incorrect and of a higher classification than the actual

qualifications of the respective referrals.

12.     Therefore Defendant was forced to pay more than it would have been required to

pay had the classifications been correct.

13.     Defendant paid $38,898.87 in wages and fringe benefits that it would not have

been required to pay had Plaintiff Union furnished proper classifications for said

referrals.

14.     Defendant has demanded said $38,898.87 from Plaintiff Union, however, Plaintiff

Union has failed and refused to repay Defendant for the funds unnecessarily paid to

Plaintiff Union’s referrals.

WHEREFORE, Defendant prays for the following judgment against Plaintiff Union;

        A.     For judgment against Plaintiff Union in the amount of $38,898.87; and

        B.     For judgment against Plaintiff Union for interest on the unnecessarily paid

               wages and fringe benefit contributions; and

        C.     For judgment against Plaintiff Union for reasonable attorneys’ fees

               incurred in the prosecution of this cause; and

        D.     For judgment against Plaintiff Union for costs incurred in this action; and

        E.     For such other relief as the Court may deem appropriate.




                                            13

 Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 13 of 14
                                    Respectfully submitted,


                                    JOHN L. WILLIAMS, P.C.

                                    /s/ John L. Williams
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                                    Kansas City MO 64105
                                    (816) 221-7177
                                    (816) 221-0798 Fax
                                    jlwmslaw@aol.com

                                    ATTORNEY FOR DEFENDANT




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing was sent through
the Court’s electronic filing system to all parties of record this 23rd day of October, 2018.



/s/ John L. Williams
John L. Williams




                                              14

        Case 4:18-cv-00759-GAF Document 4 Filed 10/24/18 Page 14 of 14
